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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF KENTUCKY
                                   LOUISVILLE DIVISION

DONNA BEDTELYON,

                 PLAINTIFF

v.                                                                          3:10cv-120-S
                                                           CIVIL ACTION NO. _________
SQUARE ONE, LLC,                                            ELECTRONICALLY FILED
                 DEFENDANT.



        Defendant, Square One, LLC (“Square One”), by counsel, gives notice of the removal of

this action to the United States District Court for the Western District of Kentucky, Louisville

Division, pursuant to 28 U.S.C. §§ 1331 and 1441 et seq.

        1.       On or about February 1, 2010, the plaintiff filed a lawsuit in the Jefferson Circuit

Court, styled Donna Bedtelyon v. Square One, LLC, Civil Action No. 10-CI-000703, in which

Donna Bedtelyon (“Ms. Bedtelyon”) alleges that she was terminated in violation of the

Americans with Disabilities Act of 1990, as amended (the “ADA”), 42 U.S.C. § 12101 et seq.

and the Kentucky Civil Rights Act (the “KCRA”), K.R.S. § 344 et seq.

        2.       Ms. Bedtelyon’s claim for alleged violation of the ADA is a claim under federal

law and, therefore, could have been originally brought in this Court pursuant to 28 U.S.C. §

1331.

        3.       Whether Square One terminated Ms. Bedtelyon in violation of the ADA is a

question of federal law. Thus, federal law is an essential element of Ms. Mitchell’s claims

against Square One. Resolution of the dispute between the parties depends upon the validity,

construction or effect of federal law, the federal questions are real and substantial, and their

resolution is an essential element of Ms. Bedtelyon’s claims.


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        4.       Ms. Bedtelyon’s claim for alleged violation of the KCRA is a claim under state

law, but forms part of the same case or controversy as her ADA claim such that it could have

been originally brought in this Court pursuant to 28 U.S.C. § 1367.

        5.       Whether Square One terminated Ms. Bedtelyon in violation of the KCRA is a

question of state law. Nevertheless, Ms. Bedtelyon’s KCRA claim is sufficiently factually

related to her ADA claim to warrant the exercise of this Court’s supplemental jurisdiction under

28 U.S.C. § 1367(a) since both claims arise out of the same basic set of facts and form part of the

same case or controversy under Article III of the United States Constitution.

        6.       Square One is the only defendant named in this action.

        7.       Square One was served with the Complaint on February 5, 2010. A copy of the

Complaint is attached as Exhibit A. This exhibit constitutes all of the process, pleadings, and

orders that have been served upon the defendant, Square One, in this action.

        8.       As set forth above, the claim asserted by Ms. Bedtelyon under the ADA involves

a substantial question arising under federal law and could have been originally brought in this

Court pursuant to 28 U.S.C. § 1331. In addition, the claim asserted by Ms. Bedtelyon under the

KCRA could have been originally brought in this court under supplemental jurisdiction pursuant

to 28 U.S.C. § 1367. Therefore, this action and all claims asserted in Plaintiff’s complaint may

be removed by the Defendant, pursuant to 28 U.S.C. § 1441(a) and § 1441(c).

        WHEREFORE, Defendant, Square One, by counsel, gives notice that the civil action now

pending before the Jefferson Circuit Court, Civil Action No. 10-CI-000703, shall be removed

therefrom to this Court.




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                                           Respectfully submitted,

                                           /s/ Demetrius O. Holloway_____________________
                                           Demetrius O. Holloway
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                                           Telephone: (502) 587-3400
                                           COUNSEL FOR DEFENDANT, SQUARE ONE, LLC


                                 CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing Notice of Removal was served via CM-ECF
on this 25th day of February, 2010 to the following:

         Samuel G. Hayward
         4036 Preston Hwy.
         Louisville, KY 40213
         (502) 366-6456
         Counsel for Plaintiff




                                                   /s/ Demetrius O. Holloway
                                                   Demetrius O. Holloway




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